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                    IN THE UNITED STATES DISTRICT COURT
                FOR THE SOUTHERN DISTRICT OF WEST VIRGINIA
                               AT HUNTINGTON

 JUSTIN ADKINS, et al.,

                              Plaintiffs,

 v.                                                          Civil Action No. 3:18-CV-00321
                                                             Hon. Judge Robert C. Chambers
 CSX TRANSPORTATION, INC., et al.,

                              Defendants.


                            AGREED ORDER OF DISMISSAL

       On this day came Plaintiffs, Tony Abdon; Brandon Adkins; Justin Adkins; Bobby Akers;

Gerald Barber; Jason Barker; John Bills; James Blain; Justin Blake; Devery Brown; Michael

Campbell; John Carpenter; Quincy Christian; Michael Clark; James Deal; Joshua Ferguson; Jerry

Flocker; John Frasure; Edwin Glowacki; Gregory Hamm; Dennis Hutchinson; Jonathan Jeffers;

Eric Jordan; Grover Kelley; The Estate of Chad Little; David Manis; Jacqueline Marshall; Homer

Maynard; Scott Morrison; Robert Mosteller; Ethan Mullins; Jeremy Napier; Michael Owens;

Kevin Palmer; Shawn Patterson; Michael D. Potter; Michael L. Potter; Samuel Preston; Jonathan

Rowe; Dennis Sargent; Eric Speaks; Donald Stephens; Clay Stiltner; Todd Thayer; Travis

Thornsberry; Jesse Wallace; Lloyd Williams; Michael Williams; Timothy Witt; and Matthew

Woods (hereinafter “above-listed Plaintiffs”), by and through counsel, Kenneth R. Reed, Gregory

G. Paul, Jeffrey R. Dingwall, C. Kiel Garella, Mark F. Underwood, and John Patrick L. Stephens;

and Defendants, CSX Transportation, Inc., Craig S. Heligman, M.D., Gus Thoele, Curt Shogren,

Milton Storm, Delando Jones, Tom DeAngelo, Shawn Lusk, Elizabeth Creedon, and Kenneth Ray

Emerson, (collectively, the “Defendants”); by and through counsel, Melissa Foster Bird, Samuel

L. Tarry, Jr., and Davis M. Walsh; and hereby jointly announce to the Court that all matters in
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controversy between the above-listed Plaintiffs and the Defendants in the above-referenced matter

have been resolved. Accordingly, the above-listed Plaintiffs and the Defendants jointly move this

Court to dismiss any and all claims against the Defendants, with prejudice, in the above-referenced

matter.

          WHEREFORE, the Court, having considered the request of counsel, and being otherwise

sufficiently advised, hereby ADJUDGES, ORDERS AND DECREES that claims of the above-

listed Plaintiffs against the Defendants are DISMISSED WITH PREJUDICE. The above-listed

Plaintiffs and the Defendants shall bear their own costs.

          The Court further DIRECTS the Clerk to send a copy of this Agreed Order of Dismissal

to all counsel of record.

          Entered this the            day of                        , 2022.




                                                            Honorable Robert C. Chambers


Presented by:


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